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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA                          *
                                                  *
vs.                                               *       No. 4:01CR00212-014 SWW
                                                  *
MARSHALL TINGLE                                   *


                                              Order

       Before the Court is defendant’s pro se motion to reduce sentence pursuant to 18 U.S.C. §

3582(c)(2) based upon the retroactive application of the crack cocaine penalty reduction imposed

by the United States Sentencing Commission, effective March 3, 2008.1 The Court has reviewed

defendant’s case to determine whether he is eligible for a sentence reduction. Based upon such

review, the Court concludes that defendant is not eligible for a sentence reduction.

                                            Discussion

       Not every person sentenced for a crack cocaine offense is eligible for consideration for a

sentence reduction.2 Only those persons currently serving a sentence determined or affected by a

sentencing range calculated using the drug quantity table, U.S.S.C. § 2D1.1, are potentially

eligible. Even then, there are some defendants for whom the recalculated guideline range, using

amended § 2D1.1, will be equal to the original guideline range. In such cases, the defendant’s

guideline range is not lowered as a result of the retroactive amendment, and there is no basis for




        1
         See United States Sentencing Commission Sentencing Guidelines, Amendment 706 (reducing the
guideline range for crack cocaine offenses, effective November 1, 2007) and Amendment 711 (making
Amendment 706 retroactive, effective March 3, 2008).
        2
        See, generally, U.S.S.G. § 1B1.10, Reduction in Term of Imprisonment as a Result of Amended
Guideline Range (Policy Statement)(March 3, 2008).
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the Court to consider whether to exercise its discretion to grant a sentence reduction. U.S.S.G. § 1B1.10(a)(1).

       To determine whether defendant is eligible for a sentence reduction, the Court must

determine the amended guideline range “that would have been applicable to the defendant if the

[crack cocaine] amendment[] . . . had been in effect at the time the defendant was sentenced.”

U.S.S.G. § 1B1.10(b)(1). Additionally, the Court may only substitute the amended retroactive

guideline, in this case § 2D1.1, and “shall leave all other guideline application decisions

unaffected.” Id.

       Defendant is not eligible for a sentence reduction. His case is one in which application of

amended § 2D1.1 does not change the guideline range. The base offense level for the quantity of

drugs was 26 but because defendant is a career criminal and the statutory maximum is 25 years or

more imprisonment,3 the offense level is 34. Because defendant received a 3 point adjustment for

acceptance of responsibility, his total offense level is 31. With a criminal history category of VI,

the original guideline range was 188-235 months. The Court imposed a guideline sentence of

200 months.

       Applying the amended version of § 2D1.1 reduces the base offense level based on drug

quantity to 24. However, because defendant is a career criminal and the statutory maximum is 25

years imprisonment, the offense level is 34. With no change to either his offense level or criminal

history, defendant’s guideline range remains unchanged. Further, there has been no Rule 35

reduction.

                                            Conclusion




        3
         The minimum term of imprisonment is five years and the maximum term is forty years.

                                                 2
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          Because the determination of defendant’s sentence of imprisonment is unaffected by the

retroactive crack cocaine amendment, his motion for reduction of sentence [docket entry 890] is

denied.

          IT IS SO ORDERED this 25th day of March 2008.


                                              /s/Susan Webber Wright

                                              UNITED STATES DISTRICT JUDGE




                                                 3
